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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***
      UNITED STATES OF AMERICA,
4
                           Plaintiff,
5                                                         2:19-cr-00059-MMD-VCF
      vs.                                                 ORDER
6     RAHMEL JAEWON PENNY,
7                           Defendant.
8           Before the Court is the Motion to Withdraw as Attorney (ECF No. 116).
9           Temporary General Order 2020-05 authorizes the use of video conferencing (or telephone
10   conferencing if video conferencing is not reasonably available) with the consent of the defendant after
11   consultation with counsel.
12          Accordingly,
13          IT IS HEREREBY ORDERED that a video conference hearing is scheduled for 2:00 PM,
14   November 10, 2020, in Courtroom 3D before Judge Cam Ferenbach.
15          The parties are directed to file a Joint Status Report (1) advising whether the defendant consents
16   to proceed with the hearing as scheduled but using video conferencing, and (2) either (a) explaining why
17   the hearing cannot be further delayed without serious harm to the interests of justice, or (b) advising
18   whether the parties agree to a continuance, indicating the maximum length of time for such a continuance.
19   The Joint Status Report for the hearing must be filed by 12:00 PM, November 10, 2020.
20          IT IS ORDERED that defense counsel shall provide all necessary documents to defendant in
21   advance of the hearing.
22          IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom Administrator,
23   Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with information on how defendant will participate
24   in the video conference by 12:00 PM, November 10, 2020. Defendant will remain at Nevada Southern
25   Detention Center.
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1           IT IS FURTHER ORDERED that Defense/AUSA shall file any necessary signed documents at

2    least ONE (1) Day prior to the scheduled hearing consistent with General Order 2020-05.

3           IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

4           INSTRUCTIONS FOR VIDEO CONFERENCE HEARING

5           Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

6    to the participants email provided to the Court.

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8           •       Log on to the call ten (10) minutes prior to the hearing time.

9           •       Mute your sound prior to entering the hearing.

10          •       Do not talk over one another.

11          •       State your name prior to speaking for the record.

12          •       Do not have others in the video screen or moving in the background.

13          •       No recording of the hearing.

14          •       No forwarding of any video conference invitations.

15          •       Unauthorized users on the video conference will be removed.

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18          DATED this 5th day of November, 2020.
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19                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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